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                                     EXHIBIT A




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                                                               Court File No. 09-CL-7950

                                  ONTARIO
                         SUPERIOR COURT OF JUSTICE
                             (COMMERCIAL LIST)

     IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT,
                     R.S.C. 1985, c. C-36, AS AMENDED
  AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
     NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,
     NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS
  INTERNATIONAL CORPORATION AND NORTEL NETWORKS TECHNOLOGY
                            CORPORATION
   APPLICATION UNDER THE COMPANIES’ CREDITORS ARRANGEMENT ACT,
                   R.S.C. 1985, c. C-36, AS AMENDED


                                MOTION RECORD
                       Canadian Sales Process Order regarding
                          Certain Patents and other Assets
                              (returnable May 2, 2011)



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